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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA

                         CASE NO.: 21-23861-CIV-MARTINEZ-BECERRA

  10 MINUTE FITNESS INC. d/b/a
  ZAAZ,

                 Plaintiff,
  v.

  AMENTUM SERVICES, INC.,
  f/k/a URS FEDERAL SERVICES, INC.

          Defendant.

  ____________________________________/

  OPPOSED MOTION FOR EXTENSION OF TIME TO FILE MOTION FOR LEAVE TO

                                  FILE AMENDED COMPLAINT

          COMES NOW, Plaintiff, 10 MINUTE FITNESS INC. d/b/a ZAAZ, by and through its

  attorneys, Spector Rubin, P.A., and files this Opposed Motion for Extension of Time to File

  Motion for Leave to File Amended Complaint and states as follows:

       1. On June 27, 2023, the Court entered its Order granting Defendant’s motion for judgment

          on the pleadings [D.E. 113].

       2. The Order provided that Plaintiff may file a motion for leave to amend the complaint on or

          before July 26, 2023.

       3. The undersigned will be on vacation for the next two weeks. Further, the undersigned

          would like the opportunity to discuss this matter with his client but has been unable to do

          so due to his client’s representative traveling for the last two weeks.

       4. As such, the undersigned respectfully requests that the time in which Plaintiff may file the

          motion for leave be extended until August 15, 2023.
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     5. The instant request is submitted in the utmost good faith and not for purposes of delay.

     6. Although the instant motion is being filed more than a week before the Court’s deadline,

         and despite the fact that there could not possibly be any prejudice to Amentum, Amentum

         opposes the relief requested herein.

     7. Although there will be no prejudice whatsoever to Amentum if the relief sought herein is

         granted, there would be prejudice to Plaintiff, as the instant matter will be otherwise

         dismissed with prejudice.

     8. As such, good cause exists for the relief sought herein.



         WHEREFORE, Plaintiff respectfully requests that the Court enter an Order extending the

  deadline to file its motion for leave to file amended complaint, if it chooses to do so, by twenty

  (20) days.

                                    RULE 7.1 CERTIFICATION

         The undersigned certifies that on July 18, 2023 he conferred with Manuel Miranda, counsel

  for Amentum regarding the relief requested herein. The undersigned advised that he was going on

  vacation and would appreciate the professional courtesy. However, despite the fact that there will

  be no prejudice to Amentum in the relief sought herein, and clear prejudice to Plaintiff, and despite

  the Court’s prior instructions to counsel to demonstrate cooperation and professionalism towards

  each other, Mr. Miranda has advised – without any explanation – that Amentum is opposed to the

  relief sought herein.




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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 18, 2023, a true and correct copy of the foregoing was

  filed with the Clerk of Court via the Court’s CM/ECF system, which shall serve a copy of same

  upon all counsel of record.



  Dated: Miami, Florida
         July 18, 2023

                                                    Respectfully submitted,

                                                    SPECTOR RUBIN, P.A.
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                                            By:     /s/ Robert Borak_________________
                                                    Robert M. Borak (FBN 015923)
                                                    Marc A. Rubin (FBN 62626)




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